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United States Distriet Cnnrt, Northern Distriet of Illinois

 

 

 

 

 

 

 

 

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Settlernent conference is set for 07/31!08 at 1:3|} p.m., in chambers 1756. The settlement conference will be
conducted in accordance with the Court’s Standing Order on Inst:ructions for Settlement Ccnference-, which ise.nclosed
and can also be accessed from the Ccurt"s Website at http://www.ilnd.uscourts.gev/JUDGE!SCHENKIER/
si`spage.htm. The schedule for exchange of demand and offer set forth in the standing order is as follows: plaintiff s . c
counsel shall serve on defense counsel a written settlement demand by 07/17}08. Defendnnt’s counsel shall serve on `\ ` "
plaintiff s counsel n written settlement offer by 07/24/08. The plaintiff’s counsel shall deliver copies of these letters;'
to chambers by noon on 07!25!08. Parties with full and complete settlement authority must attend the conference -

 

 

 

 

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